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                              UNITED STATES BANICRUPTCY COURT
                              EASTERN DISTRICT OF PENNSYLVANIA

  In re:   Leslie Kimble                                    Cliapter 13


                                   Debtor           :       Bankruptcy No. 12-12352 MDC

  ORDER DISMISSING CHAPTER 13 CASE AND SETTING DEADLINE FOR APPLICATIONS
                FOR ALLOWANCE OF ADMINISTRATIVE EXPENSES

          AND NOW, consideration of tlie Motion to Dismiss filed by William C, Miller, Standing Trustee
  (the "Trustee"), and after notice and hearing, It is hereby ORDERED THAT::

           1.     The Chapter 13 bankruptcy case is DISMISSED.

           2.     Counsel for the Debtor shall file a master mailing list with the Clerk of the Bankruptcy
                  Court if such has not been previously filed.


                  Any wage ordere previously entered are VACATED.


           4.     Pursuant to 11 U.S.C. §349(b)(3), the undistributed chapter 13 plan payments in the
                  possession of the Trustee shall not revest in tlie entity in which such property was vested
                  immediately before the commencement of tlie case. All other propeity of the estate shall
                  revest pursuant to 11 U.S.C. §349(b)(3).

           5.     All applications for allowance of administrative expenses (including applications for
                  allowance of professional fees) shall befiledwithin twenty (20) days of the entry of this
                  Order.

           6.     Counsel for Debtors shall serve a copy of this Order by first class mail, postage prepaid,
                  on all interested parties within five (5) days of the entiy of this Order. Counsel shallfilea
                  Certification of Service confirming such service and (1) a Certification of No Response
                  confirming that neither an objection to the proposed compensation nor an application for
                  administrative expense has been filed or (2) certify that such applications have been filed
                  and setting a hearing on all such applications.

           7.     If no Certification, as required above in Paragraph 6 has been entered on the docket with
                  sixty (60) days of the entiy of this Order, then the Standing Trustee shall, if any
                  applications for administrative expenses other than Debtor(s)* Counsel's have been filed,
                  set a hearing thereon or, if no such applications have been filed, be authorized to return
                  such funds to Debtor(s) pursuant to 11 U.S.C. § 1326(a)(2).


                                                            BY THE COURT:


                                                            Honbr^e Magdeline D. Coleman
                                                            United States Bankruptcy Judge


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